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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION
                                         Case No.

 WILLIAM DIERDORF, and other similarly              )
 situated individuals,                              )
                                                    )
                  Plaintiff(s),                     )
                                                    )
 v.                                                 )
                                                    )
 ADVANCED MOTION THERAPEUTIC                        )
 MASSAGE, INC.; ADVANCED MOTION                     )
 THERAPEUTIC OF VERO BEACH, L.L.C.;                 )
 MARIA ZAMBIGADIS; and OMIROS                       )
 ZAMBIGADIS a/k/a Homer Zambigadis,                 )
                                                    )
                  Defendants.

                                      COMPLAINT
                          (OPT-IN PURSUANT TO 29 U.S.C § 216(B))

        Plaintiffs WILLIAM DIERDORF (“Plaintiff”) and other similarly situated individuals

 sue defendants ADVANCED MOTION THERAPEUTIC MASSAGE, INC.; ADVANCED

 MOTION THERAPEUTIC OF VERO BEACH, L.L.C.; MARIA ZAMBIGADIS; and OMIROS

 ZAMBIGADIS a/k/a Homer Zambigadis (collectively, “Defendants”) and allege:

                                        JURISDICTION

        1.      This is an action to recover money damages for unpaid overtime wages under the

 laws of the United States. This Court has jurisdiction pursuant to the Fair Labor Standards Act,

 29 U.S.C. § 201-219 (Section 216 for jurisdictional placement) (“the Act”).

                                             VENUE

        2.      Plaintiff is a resident of Indian River County, Florida, within the jurisdiction of

 this Honorable Court. Plaintiff is a covered employee for purposes of the Act.




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         3.       ADVANCED MOTION THERAPEUTIC MASSAGE, INC. and ADVANCED

 MOTION THERAPEUTIC OF VERO BEACH, L.L.C. (collectively, the “Corporate

 Defendants”) and MARIA ZAMBIGADIS and OMIROS ZAMBIGADIS a/k/a Homer

 Zambigadis (collectively, the “Individual Defendants”), are Florida companies and Florida

 residents having their main place of business in Broward County, Florida, where Plaintiff

 worked for Defendants, and at all times material hereto were and are engaged in interstate

 commerce. The Individual Defendants, upon information and belief, reside in Broward County,

 Florida.

         4.       The Corporate Defendants share common ownership, common management,

 centralized control of labor relations, and common offices and interrelated operations. The

 Corporate Defendants are an integrated enterprise. Alternatively, each company is an enterprise

 under the Act.

         5.       The Corporate Defendants share employees or interchange employees; work in

 the direct interest of one another; and their employees are in the common control of both

 companies. The Corporate Defendants are joint employers. Alternatively, each company is an

 enterprise under the Act.

                                    COUNT I:
              WAGE AND HOUR VIOLATION BY THE CORPORATE DEFENDANTS

         6.       Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-5

 above as if set out in full herein.

         7.       This action is brought by Plaintiff and those similarly situated to recover from the

 Corporate Defendants unpaid overtime compensation, as well as an additional amount as

 liquidated damages, costs, and reasonable attorneys’ fees under the provisions of 29 U.S.C.

 § 201 et seq., and specifically under the provisions of 29 U.S.C. § 207. Section 207(a)(1) of the

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 Act states: “No employer shall employ any of his employees . . . for a work week longer than 40

 hours unless such employee receives compensation for his employment in excess of the hours

 above-specified at a rate not less than one and a half times the regular rate at which he is

 employed.”

        8.       Jurisdiction is conferred on this Court by Title 28 U.S.C. § 1337 and by Title 29

 U.S.C. § 216(b). The Corporate Defendants are and, at all times pertinent to this Complaint, were

 engaged in interstate commerce. At all times pertinent to this Complaint, the Corporate

 Defendants operate as organizations which sell and/or market their services and/or goods to

 customers from throughout the United States and also provide their services for goods sold and

 transported from across state lines of other states, and the Corporate Defendants obtain and

 solicit funds from non-Florida sources, accept funds from non-Florida sources, use telephonic

 transmissions going over state lines to do their business, transmit funds outside the State of

 Florida, and otherwise regularly engage in interstate commerce, particularly with respect to their

 employees. Upon information and belief, the annual gross revenue of the Corporate Defendants

 was at all times material hereto in excess of $500,000 per annum, and/or Plaintiff and those

 similarly situated, by virtue of working in interstate commerce, otherwise satisfy the Act’s

 requirements.

        9.       By reason of the foregoing, the Corporate Defendants are and were, during all

 times hereafter mentioned, enterprises engaged in commerce or in the production of goods for

 commerce as defined in §§ 3 (r) and 3(s) of the Act, 29 U.S.C. § 203(r) and 203(s) and/or

 Plaintiff and those similarly situated was and/or is engaged in interstate commerce for the

 Corporate Defendants. The Corporate Defendants’ business activities involve those to which the

 Act applies. The Corporate Defendants operate a physical therapy clinic and, through their



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 business activities, affect interstate commerce. The Plaintiff’s work for the Corporate Defendants

 likewise affects interstate commerce. Plaintiff was employed by the Corporate Defendants as an

 assistant physical therapist for the Corporate Defendants’ business.

        10.     While employed by the Corporate Defendants, Plaintiff worked approximately an

 average of 50-60 hours per week without being compensated at the rate of not less than one- and

 one-half times the regular rate at which he was employed. Specifically, Plaintiff worked at the

 Corporate Defendants’ facility and then had to do mandatory work at home filing out reports for

 Defendants. Plaintiff was employed as an assistant physical therapist performing the same or

 similar duties as that of those other similarly situated assistant physical therapists whom Plaintiff

 observed working in excess of 40 hours per week without overtime compensation.

        11.     Plaintiff worked for the Corporate Defendants from approximately 09/01/2016 to

 08/02/2019. In total, Plaintiff worked approximately 146 compensable weeks under the Act, or

 146 compensable weeks if counted 3 years back from the filing of the instant action.

        12.     The Corporate Defendants paid Plaintiff on average approximately $25 per hour.

        13.     However, the Corporate Defendants did not pay Plaintiff at all for hours Plaintiff

 worked in excess of 40 per week.

        14.     Plaintiff seeks to recover unpaid overtime wages accumulated from the date of

 hire and/or from 3 (three) years back from the date of the filing of this Complaint.

        15.     Prior to the completion of discovery and to the best of Plaintiff’s knowledge, at

 the time of the filing of this Complaint, Plaintiff’s good faith estimate of his unpaid overtime

 wages is as follows:

        a. Actual Damages: $54,750




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              i.      Calculation: $25 (hourly pay) x 1.5 (overtime rate) x 10 (approximate number

                      of overtime hours) x 146 (compensable weeks) = $54,750

        b. Liquidated Damages: $54,750


        c. Total Damages: $109,500 plus reasonable attorneys’ fees and costs of suit.

        16.        At all times material hereto, the Corporate Defendants failed to comply with Title

 29 U.S.C. §§ 201-219 and 29 C.F.R. § 516.2 and § 516.4 et seq. in that Plaintiff and those

 similarly situated performed services and worked in excess of the maximum hours provided by

 the Act but no provision was made by the Corporate Defendants to properly pay them at the rate

 of time and one half for all hours worked in excess of forty hours (40) per workweek as provided

 in the Act. The additional persons who may become Plaintiffs in this action are weekly-paid

 employees and/or former employees of the Corporate Defendants who are and who were subject

 to the unlawful payroll practices and procedures of the Corporate Defendants and were not paid

 time and one half of their regular rate of pay for all overtime hours worked in excess of forty.

        17.        The Corporate Defendants knew and/or showed reckless disregard of the

 provisions of the Act concerning the payment of overtime wages and remains owing Plaintiff and

 those similarly situated these overtime wages since the commencement of Plaintiff’s and those

 similarly situated employees’ employment with the Corporate Defendants as set forth above, and

 Plaintiff and those similarly situated are entitled to recover double damages. The Corporate

 Defendants never posted any notice, as required by Federal Law, to inform employees of their

 federal rights to overtime and minimum wage payments.

        18.        The Corporate Defendants willfully and intentionally refused to pay Plaintiff

 overtime wages as required by the laws of the United States as set forth above and remains




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 owing Plaintiff these overtime wages since the commencement of Plaintiff’s employment with

 the Corporate Defendants as set forth above.

          19.      Plaintiff has retained the law offices of the undersigned attorney to represent him

 in this action and is obligated to pay a reasonable attorneys’ fee.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff and those similarly situated request that this Honorable Court:

          A. Enter judgment for Plaintiff and others similarly situated and against the Corporate

                Defendants on the basis of the Corporate Defendants’ willful violations of the Fair

                Labor Standards Act, 29 U.S.C. § 201 et seq. and other Federal Regulations; and

          B. Award Plaintiff actual damages in the amount shown to be due for unpaid wages and

                overtime compensation for hours worked in excess of forty weekly; and

          C. Award Plaintiff an equal amount in double damages/liquidated damages; and

          D. Award Plaintiff reasonable attorneys’ fees and costs of suit; and

          E. Grant such other and further relief, as this Court deems equitable and just.

                                           JURY DEMAND

          Plaintiff and those similarly situated demand trial by jury of all issues so triable as of

 right.

                                 COUNT II:
            WAGE AND HOUR VIOLATION BY THE INDIVIDUAL DEFENDANTS

          20.      Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-19

 above as if set out in full herein.

          21.      At the times mentioned, the Individual Defendants were and are now, owners,

 supervisors, and officers of the Corporate Defendants. The Individual Defendants were

 employers of Plaintiff and others similarly situated within the meaning of Section 3(d) of the Act

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 [29 U.S.C. § 203(d)], in that these defendants acted directly or indirectly in the interests of the

 Corporate Defendants in relation to the employees of the Corporate Defendants, including

 Plaintiff and others similarly situated. The Individual Defendants had operational control of the

 Corporate Defendants, were involved in the day-to-day functions of the Corporate Defendants,

 provided Plaintiff with his work schedule, and are jointly liable for Plaintiff’s damages.

        22.      The Individual Defendants are and were at all times relevant persons in control of

 the Corporate Defendants’ financial affairs and can cause the Corporate Defendants to

 compensate (or not to compensate) their employees in accordance with the Act.

        23.      The Individual Defendants willfully and intentionally caused Plaintiff not to

 receive overtime compensation as required by the laws of the United States as set forth above

 and remain owing Plaintiff these overtime wages since the commencement of Plaintiff’s

 employment with the Corporate Defendants as set forth above.

        24.      Plaintiff has retained the law offices of the undersigned attorney to represent him

 in this action and is obligated to pay a reasonable attorneys’ fee.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff and those similarly situated request that this Honorable Court:

        A. Enter judgment for Plaintiff and others similarly situated and against the Individual

              Defendants on the basis of the Defendants’ willful violations of the Fair Labor

              Standards Act, 29 U.S.C. § 201 et seq. and other Federal Regulations; and

        B. Award Plaintiff actual damages in the amount shown to be due for unpaid wages and

              overtime compensation for hours worked in excess of forty weekly; and

        C. Award Plaintiff an equal amount in double damages/liquidated damages; and

        D. Award Plaintiff reasonable attorneys’ fees and costs of suit; and



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          E. Grant such other and further relief, as this Court deems equitable and just.

                                          JURY DEMAND

          Plaintiff and those similarly situated demand trial by jury of all issues so triable as of

 right.

 Dated: October 21, 2019.

                                                       Respectfully submitted,

                                                       By:__/s/ R. Martin Saenz
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